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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CRISITAN SANCHEZ, on behalf of himself and
all others similarly situated,
                                                            Case No. 1:21-cv-01431-AT
                       Plaintiffs,                         NOTICE OF VOLUNTARY
                                                                  DISMISSAL
               -against-                                       WITH PREJUDICE


HEARST MAGAZINE MEDIA, INC.
             Defendant.



         PLEASE TAKE NOTICE, that the above-entitled action against all Defendants shall be

and hereby is dismissed pursuant to F.R.C.P. Rule 41(a)(1)(A)(i) with prejudice; without costs,

or disbursements, or attorneys’ fees to any party.


Dated:     Brooklyn, New York
           April 21, 2021


                                                     Respectfully submitted,

                                                     /s/ Joseph H. Mizrahi
                                                     Cohen & Mizrahi LLP
                                                     Attorneys for Plaintiff
